     Case 4:12-cr-00004-WTM-GRS Document 173 Filed 02/20/13 Page 1 of 2




              UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION

UNITED STATES OF AMERICA             )
                                     )



V.                                   ) Case No. CR412-004
                                     )



LORI ANGELA JONES                    )


                 REPORT AND RECOMMENDATION

       On June 13, 2012, the Court ordered a forensic psychological

examination of defendant Lori Angela Jones in accordance with 18 U.S.C.

§ 4241(a) and (b) to assess both her mental competency for trial and her

criminal responsibility for the charged offenses. (Doc. 122.) Pursuant

to the Court's order, Jones was transported to the Federal Detention

Center in Miami, Florida, where she underwent a comprehensive

psychological evaluation. Her evaluators found that she is competent to

stand trial and was sane at the time of the offenses. (Doe. 141.)

       Both defendant and the government stipulate to the report's

findings. (Doe. 172.) The Court concurs with the unrebutted findings

in the forensic report that the defendant is not presently suffering from a
     Case 4:12-cr-00004-WTM-GRS Document 173 Filed 02/20/13 Page 2 of 2




mental disease or defect rendering her mentally incompetent to stand

trial and was not insane at the time she committed the alleged offenses.

It is therefore RECOMMENDED that defendant be found competent to

stand trial pursuant to 18 U.S.C. § 4241.

     SO REPORTED AND RECOMMENDED this /9 day of

February, 2013.



                                         UNITED ST ES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




                                     2
